        Case 1:15-cv-05167-SJ-MDG Document 19 Filed 12/08/15 Page 1 of 1 PageID #: 88
OAO 458 (Rev. 10/95) Appearance


                                  UNITED STATES DISTRICT COURT
                   EASTERN                         DISTRICT OF                                 NEW YORK



                                                                                        APPEARANCE


                                                                          Case Number: 15CV5167-(SJ)(MDG)




To the Clerk of this court and all parties of record:

         Enter my appearance as counsel in this case for
          DEBORAH WOODS




         I certify that I am admitted to practice in this court.




                   12/8/2015
Date                                                       Signature

                                                            MICHELLE JEAN-JACQUES                                  MJ5426
                                                           Print Name                                             Bar Number

                                                            3 PARK AVENUE - SUITE 2300
                                                           Address

                                                            NEW YORK                   NEW YORK           10016
                                                           City                        State                Zip Code

                                                                     (212) 732-3665                (212) 732-1462
                                                           Phone Number                                           Fax Number




                                                                                      Print                  Reset
